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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 UNITED STATES OF AMERICA                              CRIMINAL ACTION NO. 14-00051

 VERSUS                                                JUDGE ROBERT G. JAMES

 KIMBERLIA HARRIS                                      MAGISTRATE JUDGE HAYES

                             REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is a

 Motion to Suppress, [doc. # 53], filed by Defendant Kimberlia Harris. The Government opposes

 the Motion. For the reasons stated below, it is recommended that the Motion be DENIED.

                                            Background

        On December 4, 2013 the Government, via Special Agent Moses, presented an Affidavit

 to the undersigned in order to obtain a warrant to search and seize instrumentalities, fruits, and

 evidence of certain crimes at three locations: (1) A premises known as Dee’s Grocery, located at

 2801 Renwick Street, Monroe, Louisiana 71201; (2) A personal residence located at 761 Moore

 Road, Monroe, Louisiana 71202; and (3) a 2010 Buick LaCrosse. [doc. # 56-1, p. 1]. The

 undersigned Magistrate Judge signed the warrant on the same day, thus indicating that in her

 opinion the alleged facts constituted probable cause to search the three locations. Id. at 24.1

        On March 13, 2014, based on the evidence and statements obtained during the search of


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           Neither party challenges the propriety of the undersigned’s role in the instant
 recommendation. The undersigned is cognizant of the potential conflict of interest present
 anytime a magistrate is asked to review his or her own probable cause determination;
 nevertheless, in the absence of any binding authority to the contrary, and considering that the
 District Judge will issue the final ruling, the undersigned will undertake review. See U.S. v.
 Gove, 2010 WL 678215, at *1 (E.D. Tex. 2010) (undertaking review under analogous
 circumstances and citing cases in support).
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 the three locations listed above, the Government charged Defendant, in a twelve-count

 Indictment, with conspiracy to defraud the United States, the transfer or unauthorized use of food

 stamps (SNAP fraud), wire fraud, and WIC fraud. [doc. # 1]. The Indictment alleges that

 Defendant was the owner of Dee’s Grocery Store (“Dee’s”) in Monroe, Louisiana, and that

 Defendant obtained permission to become an authorized SNAP and WIC retailer. Id. The

 Indictment alleges further that, beginning on or about August 8, 2008, and continuing until her

 arrest, Defendant “devised, intended to devise, and knowingly participated in a scheme to

 defraud and obtain money from the SNAP and WIC programs by means of materially false and

 fraudulent pretenses, representations, and promises.” Id. at 6. Finally, the Indictment alleges

 that Defendant conspired to profit by exchanging SNAP and WIC benefits for lesser amounts of

 cash and by allowing the program benefits to be used to purchase ineligible items, such as

 cigarettes. Id. at 6-7.

         Defendant filed the instant Motion to Suppress on June 5, 2014. [doc. # 53]. She claims

 that the evidence the Government seized pursuant to its search warrant should be suppressed for

 four reasons: (1) the Government failed to support its warrant application with an affidavit of

 probable cause; (2) the Government failed to establish probable cause for the warrant’s issuance;

 (3) the statements she provided during the search of her residence constitute fruits of the

 defective warrant; and (4) she did not voluntarily make the statements that she provided to the

 Government. [doc. # 53-1, p. 1].

                                          Law and Analysis

 A. Failure to Establish Probable Cause

         Defendant asserts that the Government failed to support its application for a search


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 warrant with an affidavit of probable cause, intentionally misled the magistrate judge when it

 applied for the warrant, and failed to establish probable cause for searching her residence. [doc.

 #s 51, p. 1; 57, p. 3].

         i. Failure to Support the Warrant Application with an Affidavit of Probable Cause

         Defendant originally claimed that the evidence seized pursuant to the Government’s

 search warrant should be suppressed because the materials that the Government used to obtain

 the search warrant did not include an affidavit of probable cause. [doc. # 53-1, p. 1]. Defendant

 made this argument because the Government did not produce the affidavit during discovery.

 [doc. # 56, p. 9]. However, the Government responded to the instant Motion on June 12, 2012,

 and attached a copy of the duly sworn affidavit that Agent Moses signed and provided to the

 undersigned. [doc. # 56-1]. Consequently, in her Reply, Defendant withdraws this claim and

 acknowledges that she “was under the impression that there was no affidavit in support of the

 warrant because [she] did not find one on file. Accordingly, it is recommended that Defendant’s

 Motion, with respect to this argument, be DENIED AS MOOT.

         ii. Intentionally Misleading the Issuing-Judge

         Despite withdrawing her argument that the Government failed to supports its warrant

 application with an affidavit of probable cause—which was Defendant’s primary argument

 initially—Defendant continues to argue that the evidence the Government obtained should be

 suppressed because the search warrant was not supported by probable cause. [doc. # 57, p. 3].

         The Fourth Amendment guarantees “[t]he right of the people to be secure in their

 persons, houses, papers, and effects, against unreasonable searches and seizures . . . .” U.S.

 CONST . amend. IV. The courts deter Fourth Amendment violations by excluding evidence


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 obtained as a result of the transgression. See U.S. v. Gibbs, 421 F.3d 352, 357 (5th Cir. 2005)

 (citation omitted). This so-called exclusionary rule requires the suppression of evidence that is

 seized pursuant to a warrant unsupported by probable cause. U.S. v. Pope, 467 F.3d 912, 916 (5th

 Cir. 2006) (citation omitted). “[T]he exclusionary rule is designed to deter police misconduct

 rather than to punish the errors of judges and magistrates.” Gibbs, supra (citation omitted).

 Thus, “[e]vidence obtained during the execution of a subsequently invalidated search warrant is

 not excluded if the officer executing the warrant relied on it in good faith.” Id. If this good faith

 exception applies, then the inquiry ends. Gibbs, supra. The government bears the burden of

 demonstrating that the good faith exception applies. U.S. v. Gant, 759 F.2d 484, 487 (5th Cir.

 1985).

          If the good faith exception does apply, a reviewing court is obliged to defer to an issuing

 judge’s probable cause determination in signing a warrant unless:

          (1)    the issuing-judge was misled by information in an affidavit that the
                 affiant knew was false or would have known was false except for his
                 reckless disregard of the truth;

          (2)    the issuing-judge wholly abandoned his judicial role in such a manner
                 that no reasonably well trained officer should rely on the warrant;

          (3)    the underlying affidavit is “bare bones” (so lacking in indicia of
                 probable cause as to render official belief in its existence entirely
                 unreasonable); or

          (4)    the warrant is so facially deficient . . . that the executing officers
                 cannot reasonably presume it to be valid.

 Gibbs, supra (citations and internal quotation marks omitted). If the good faith exception does

 not apply, the court must consider whether the warrant was supported by probable cause. Gibbs,

 supra.


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        Here, Defendant appears to invoke the first qualifier above and argues that the good faith

 exception does not apply because Agent Moses misled the undersigned when she included

 information in the affidavit that she knew was false.2 [doc. # 57, p. 3]. Defendant argues:

        The warrant was misleading and untrue. Sect. IV paragraph five (5) of the affidavit
        says that between June 2011 and May 2013 there were ten controlled EBT SNAP
        transactions at Dee’s Grocery in which “the store owner and employees” accepted
        EBT SNAP benefits for cash. The agent who signed at the time knew full well that
        the statement made was not true and that at no time in any of the controlled
        transactions did the defendant do what she is accused of doing. It appears to be an
        attempt to embellish what had occurred and mislead the court.

        Any reasonable judge or magistrate reading the affidavit would come to the
        conclusion that [Defendant] was seen taking part in the ten (10) transactions when
        in fact the defendant was not present in at least eight of the ten transactions recorded
        by the government. The warrant was secured based upon a misrepresentation to the
        count [sic].

 Id. The undersigned disagrees. The statement made in the affidavit supports a conclusion that

 the defendant was present at one or more of the transactions, but does not state that the defendant

 and the store employees were all present at all of the transactions. In addition, even if

 defendant’s argument were persuasive, apart from her conclusory assertions, she fails to offer

 any proof or explanation indicating that the affiant’s averments were false. See Franks v.

 Delaware, 438 U.S. 154, 171 (1978) (holding that to mandate an evidentiary hearing with

 respect to an allegation that an affiant included a false statement, “the challenger’s attack must

 be more than conclusory” and “must be accompanied by an offer of proof.”). Thus the good



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          Defendant also appears to invoke the second qualifier when she asserts, in conclusory
 fashion, that the undersigned “seemed to have abandoned her judicial oversight role.” [doc. #
 53-1, p. 4]. However, Defendant made this assertion in connection with her now-withdrawn
 argument that the undersigned issued the warrant without first receiving an affidavit of probable
 cause. Thus, as that argument was withdrawn, Defendant’s assertion that the undersigned
 abandoned her judicial oversight role is moot.

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 faith exception applies and the undersigned recommends that the Court defer to the

 undersigned’s initial finding of probable cause.

         In any event, even if the undersigned assumes that the good faith exception does not

 apply because the affiant made an intentional misstatement with the requisite state of mind, and

 even after excising the misstatement from the affidavit, the undersigned would nevertheless find

 that the remaining information in the affidavit was sufficient to support a finding of probable

 cause. See U.S. v. Namer, 680 F.2d 1088, 1093 (5th Cir. 1982) (“[I]f a search warrant affidavit

 contains a material misstatement made intentionally or with reckless disregard for the truth, the

 court should excise the offensive language from the affidavit and determine whether the

 remaining portion establishes probable cause.”). To explain, Defendant’s presence at the

 transactions is immaterial because when Defendant applied to become authorized to accept

 SNAP benefits, she acknowledged full responsibility for all of her employees’ actions. [See doc.

 # 56-1, p. 5]. More importantly, Defendant’s presence is immaterial because the relevant inquiry

 in a probable cause analysis is whether “there is a fair probability that contraband or evidence of

 a crime will be found in a particular place,” not whether there is a fair probability that evidence

 of a crime will be found as to a particular Defendant. Illinois v. Gates, 462 U.S. 213, 214 (1983)

 (emphasis added); see also U.S. v. Simpson, 2011 WL 721912, at *12 (N.D. Tex. 2011) (“[T]he

 relevant connection for probable cause is between the places to be searched and the alleged

 criminal activities.”).

         iii. Probable Cause to Search Defendant’s Home

         Finally, Defendant argues that the warrant was defective with respect to the 761 Moore

 Road residence (Defendant’s home) because the warrant application did not allege that any


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 illegal activity took place there. [doc. # 57, p. 3]. According to Defendant, “[a]ll of the

 undercover operations took place at Dee’s Grocery” and “no witness [saw] any unlawful activity

 take place at the house.” Id.

        Defendant’s argument is unavailing because the relevant inquiry is not whether any

 unlawful activity took place at the residence, but, as above, whether “there is a fair probability

 that contraband or evidence of a crime will be found in a particular place.” Gates, 462 U.S. at

 214. Stated somewhat differently, when an affidavit purports to establish probable cause, a court

 must determine whether the affidavit establishes “a nexus between the house to be searched and

 the evidence sought.” U.S. v. Nguyen, 172 F. App’x 558, 561 (5th Cir. 2006). “The nexus may

 be established by direct observation or through normal inferences as to where the articles sought

 would be located.” Id. (internal quotation marks omitted).

        Here, the Government sought to search the residence to find “fruits and evidence of

 violations of food stamp fraud, wire fraud, theft of government property, and criminal conspiracy

 . . . .” [doc. # 56-1, p. 1]. The affidavit that the Government used to obtain the warrant included

 first and second-hand accounts of undercover transactions that agents conducted at Dee’s, set

 forth statistical and comparative charts and tables, and provided detailed information indicating

 that Defendant redeemed SNAP benefits on a monthly basis that far exceeded stores of similar

 inventory. Id. In order to establish that the materials sought in connection with the

 aforementioned averments could be located in Defendant’s residence, Agent Moses averred:

        9. Based upon my training and experience in SNAP fraud investigations of
        individuals and businesses involved in SNAP trafficking, I am aware of the
        following:

            a. Businesses and individuals involved in SNAP trafficking keep cash on
            hand to buy SNAP benefits from recipients. The cash is typically maintained

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            at the business location and in the case of an individual, on their person or in
            the areas under their control such as automobiles and personal residence.

                                                 ***

            b. Businesses and individuals involved in the illegal acquisition of SNAP
            benefits often keep ledgers and documents reflecting their purchases of
            SNAP benefits for cash, as well as ledgers and papers with EBT card
            numbers and PINs. These ledgers and documents are often kept in . . . their
            residences . . . .

                                                 ***

            g. [Defendant] listed 761 Moore Road, Monroe, Louisiana as a residence on
            the WIC applications from 2009 and thereafter on each application update or
            renewed [sic].

            h. During surveillance, the vehicles described herein this application have
            been observed at both the residence and the store during the course of the
            investigation. Through surveillance and undercover operations, [Defendant]
            has been observed bringing ‘buy’ money to the store in the Black 2010 Buick
            LaCrosse that is registered to [Defendant] at 761 Moore Road, Monroe,
            Louisiana.

                                                 ***

        2. It is the experience of the Affiant that retail grocery and convenience businesses
        have computer devices in their . . . residences to record general business activity such
        as recording sales and expenses such as the purchase and inventory control of vendor
        products that are sold for retail in stores.

 Id. at 11-15.

        Agent Moses, through inferences that she could deduce based on her training and

 experience, sufficiently established a nexus between Defendant’s residence and the alleged

 illegal activity. While the circumstances and observations set forth in the affidavit created no

 certainty that the agents would find evidence in the residence, they did create a “fair probability”




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 that such evidence would be found.3

        Defendant, in the end, does not provide the undersigned with any reason to reverse the

 prior probable cause finding. Accordingly, Defendant’s Motion, with respect to the arguments

 concerning probable cause, should be DENIED.

 B. Fruit of the Poisonous Tree

        Defendant argues that the statements she provided during the search of her residence

 should be suppressed because they constitute fruits of the defective warrant. [doc. # 53-1, p. 1].

 Defendant fails to expound upon her argument. Apparently, she relies on the arguments listed

 above to support her assertion that the warrant was defective. For reasons stated above,

 however, Defendant has failed to establish that assertion. Thus, Defendant’s Motion, with

 respect to this argument, should be DENIED.

 C. Involuntary Confession

        Defendant argues that the inculpatory statements she provided during the search should

 be suppressed because she did not make them voluntarily. Id. The following comprises the

 entirety of Defendants argument: “[A]gents also questioned mover without the presence of a

 lawyer and under the duress of agents who had entered her home against her will.” Id.

        Notably, Defendant does not argue, and the record does not indicate, that her interview

 was custodial.4 According to the Government’s “Memorandum of Interview,” special agents


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          Because the undersigned finds that probable cause existed to support the warrant’s
 issuance, the undersigned does not reach the issue of whether the search would be valid under
 the good faith exception to the warrant requirement.
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          At this point, Defendant’s right to counsel had not attached because she was not in
 custody and there were no charges filed against her. See U.S. v. Mata, 517 F.3d 279, 291 (5th
 Cir. 2008).

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 advised Defendant of her rights, advised Defendant that she was not under arrest and that there

 was no plan to arrest her, and obtained a completed “Advice and Waiver of Rights” form, [doc. #

 56-2]. [doc. # 56-3, p. 1].

        The government must establish, by a preponderance of the evidence, the voluntariness of

 an incriminating statement. Colorado v. Connelly, 479 U.S. 157, 169 (1986). To render a

 confession involuntary, a defendant must demonstrate that law enforcement officers engaged in

 coercive conduct and that there was a causal link between the coercive conduct and the

 confession. U.S. v. Bell, 367 F.3d 452, 461 (5th Cir. 2004) (citing Connelly, 479 U.S. at 163-65).

 Coercive conduct refers to physical violence and other means calculated to break the defendant’s

 will, such as psychological persuasion. U.S. v. Broussard, 80 F.3d 1025, 1034 (5th Cir. 1996).

        Here, Defendant’s lone argument appears to be that her confession was involuntary

 because the agents entered her home without a valid search warrant. This argument apparently

 flows from Defendant’s initial argument that the search warrant was defective because the agent

 who applied for it failed to give the undersigned an affidavit of probable cause. To that extent,

 the undersigned reiterates that the agent did provide an affidavit and the warrant was not

 defective.

        Aside from that argument, Defendant fails to put forth—and the record is devoid of—any

 allegations of coercive police tactics. Instead, the record shows that Defendant signed an

 “Advice and Waiver of Rights” form and indicated that she was aware of her right to remain

 silent, that she knew of her right to speak with a lawyer before answering any questions, and that




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 she could stop answering questions at any time. [doc. # 56-2].5 Moreover, it is clear that

 Defendant knew she was speaking with special agents. Also of import, the agents interviewed

 Defendant in her own home. Considering the absence of any allegations of physical force,

 promises, inducements, threats, or any other form of police overreaching or coercion, the

 undersigned finds that the Government has demonstrated, by a preponderance of the evidence,

 that Defendant made her statements voluntarily. Defendant’s Motion should be DENIED

 accordingly.

                                             Conclusion

        For the above-stated reasons, IT IS RECOMMENDED that the Motion to Suppress,

 [doc. # 53], filed by Defendant Kimberlia Harris be DENIED.

        Under the provisions of 28 U.S.C. §636(b)(1)(C) and FRCP Rule 72(b), the parties have

 fourteen(14) days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within

 fourteen (14) days after being served with a copy thereof. A courtesy copy of any objection,

 response, or request for extension of time shall be furnished to the District Judge at the time of

 filing. Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,



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         In fact, after making incriminating statements, Defendant decided to consult an attorney
 and terminated the interview. [doc. # 56-3, p. 2].

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 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

       In Chambers, Monroe, Louisiana, this 1st day of July, 2014.




                                                   __________________________________
                                                   KAREN L. HAYES
                                                   UNITED STATES MAGISTRATE JUDGE




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